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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                             )
In re                                                        )     Chapter 11
                                                             )
TOUGH MUDDER INCORPORATED; and                               )     Case No. 20-10036 (CSS)
TOUGH MUDDER EVENT PRODUCTION                                )     Case No. 20-10037 (CSS)
INCORPORATED,                                                )
                                                             )     RE: D.I. 30
                       Debtors.                              )
                                                                   [Requested] Objection Deadline: February 20,
                                                             )     2020, at 4:00 p.m. (ET)
                                                             )
                                                             )     [Requested] Hearing Date: February 25, 2020,
                                                             )     at 1:00 p.m. (ET)
                                                             )
                                                             )

          NOTICE OF ASSUMPTION AND ASSIGNMENT OF CERTAIN
    EVENTS AND EXECUTORY CONTRACTS AND PROPOSED CURE AMOUNTS

                PLEASE TAKE NOTICE that on January 21, 2020, an order for relief [D.I. 19]
under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) was entered with
respect to the above-captioned debtors (the “Debtors”) by the United States Bankruptcy Court
for the District of Delaware (the “Court”).

                PLEASE TAKE FURTHER NOTICE that on January 30, 2020, the Court
entered an order appointing Derek C. Abbott, Esq., as the chapter 11 trustee of the Debtors’
estates [D.I. 24].

              PLEASE TAKE FURTHER NOTICE that on February 7, 2020, the Trustee
filed the Chapter 11 Trustee’s Motion for Entry of an Order (I) Approving Entry Into and
Performance Under Asset Purchase Agreement by and Among Spartan Race, Inc., and Debtors’
Chapter 11 Trustee, (II) Authorizing the Sale of Substantially All of the Debtors’ Assets Free and
Clear of All Liens, Claims, Encumbrances, and Interests, (III) Approving the Assumption and
Assignment of Certain Contracts and Related Procedures, (IV) Approving the Bid Protections,
and (V) Granting Related Relief [D.I. 30] (the “Sale Motion”).1

               By the Sale Motion, the Trustee seeks to sell (the “Sale”), subject to higher or
otherwise better offers, substantially all of the Debtors’ assets to Spartan Race, Inc., or its
designee (the “Buyer”), pursuant to an Asset Purchase Agreement, dated as of February 7, 2020,
by and among the Buyer and the Trustee for the benefit of the Debtors (the “Sale Agreement”),
free and clear of all liens, claims, encumbrances, and interests, and to assume and assign the
Assumed Events (as defined in the Sale Agreement) and the Assumed Contracts (as defined in

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        Capitalized terms not defined herein are used as in the Sale Motion.
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the Sale Agreement). A copy of the Sale Agreement is attached as Exhibit B to the Sale Motion.
Copies of the Sale Motion and other documents filed in the Debtors’ chapter 11 cases may be
obtained upon reasonable request to the undersigned counsel, inspected at the offices of the
Clerk of the Court during normal business hours, or downloaded from the Court’s electronic
docket at ecf.deb.uscourts.gov. Please note that prior registration with the PACER service center
and payment of a fee may be required to access such documents. Parties in interest may sign up
for a PACER account by visiting the PACER website at pacer.psc.uscourts.gov or by calling
(800) 676-6856.

               PLEASE TAKE FURTHER NOTICE that a hearing to approve the Sale (the
“Sale Hearing”), including the assumption and assignment of the Assumed Events and Contracts,
has been requested for February 25, 2020, at 1:00 p.m. (Eastern Standard Time) before Chief
United States Bankruptcy Judge Christopher S. Sontchi in the United States Bankruptcy Court
for the District of Delaware, 824 N. Market Street, 5th Floor, Courtroom #6, Wilmington,
Delaware 19801.

               PLEASE TAKE FURTHER NOTICE that the cure amount (the “Cure
Amount”), if any, the Trustee believes is required to satisfy all amounts and obligations due and
owing by the Debtors under each: (i) Assumed Event, including any monetary defaults and
compensation for pecuniary losses, is listed on Exhibit A (the “Event Cure Schedule”) attached
hereto; and (ii) Assumed Contract, including any monetary defaults and compensation for
pecuniary losses, is listed on Exhibit B (the “Contract Cure Schedule”) attached hereto.

                PLEASE TAKE FURTHER NOTICE that the deadline to file an objection to
the assumption and assignment of the Event(s) and/or Contract(s) or the proposed Cure
Amount(s) for such Event(s) and/or Contract(s) (together, any “Cure Objections”) has been
requested for February 20, 2020, at 4:00 p.m. (Eastern Standard Time) (the “Objection
Deadline”). Cure Objections must filed with the Clerk of the Court, 824 Market N. Street, 3rd
Floor, Wilmington, Delaware 19801, and served so as to be received by the Objection Deadline,
on (collectively, the “Notice Parties”): (i) proposed counsel to the Trustee, Morris, Nichols,
Arsht & Tunnell LLP, 1201 N. Market Street, Wilmington, DE 19801, Attn: Curtis S. Miller
(cmiller@mnat.com), Matthew B. Harvey (mharvey@mnat.com), Joseph C. Barsalona II
(jbarsalona@mnat.com), and Brett S. Turlington (bturlington@mnat.com); (ii) counsel to the
Buyer, (a) Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C., One Financial Center, Boston,
MA 02111, Attn: Adrienne K. Walker (awalker@mintz.com), and (b) Loizides, P.A., 1255 King
Street, Suite 800, Wilmington, DE 19801, Attn: Christopher S. Loizides (loizides@loizies.com);
and (iii) the Office of the United States Trustee, J. Caleb Boggs Federal Building, 844 King
Street, Suite 2207, Lockbox 35, Wilmington, DE 19801, Attn: Jane Leamy, Esq.
(jane.m.leamy@usdoj.gov).

               PLEASE TAKE FURTHER NOTICE that the Cure Objection must state (i) the
basis for the objection and (ii) if applicable, with specificity, what Cure Amount(s) the party to
the Event(s) and/or Contract(s) believes is required (in all cases with appropriate documentation
in support thereof).




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               PLEASE TAKE FURTHER NOTICE that any objection solely to the Cure
Amount(s) may not prevent or delay the assumption and assignment of the Event(s) and/or
Contract(s) by the Buyer. If a non-Debtor counterparty (a “Non-Debtor Counterparty”) objects
solely to Cure Amount(s), the Trustee may, with the consent of the Buyer, hold the claimed Cure
Amount(s) in reserve pending further order of the Court or mutual agreement of the parties. So
long as Cure Amount(s) are held in reserve, and there are no other unresolved objections to
assumption and assignment of the applicable Assumed Event(s) and/or Assumed Contract(s), the
Trustee can, without further delay, assume and assign such Assumed Event(s) and/or Assumed
Contract(s) to the Buyer. Under such circumstances, the objecting Non-Debtor Counterparty’s
recourse is limited to the funds held in reserve.

               PLEASE TAKE FURTHER NOTICE that any objections to the adequate
assurance of future performance by the Buyer under the applicable Assumed Event(s) and/or
Assumed Contract(s) must be filed with the Court and served on the Notice Parties and the Buyer
so that such objection is received on or before the Objection Deadline.

               PLEASE TAKE FURTHER NOTICE that unless a Cure Objection or an
objection to adequate assurance of future performance, as applicable, is filed and served by a
Non-Debtor Counterparty to any Assumed Event and/or Assumed Contract by the Objection
Deadline, such Non-Debtor Counterparty shall be (i) deemed to have waived and released any
right to assert a Cure Objection and to have otherwise consented to the assignment of such
Assumed Event and/or Assumed Contract, (ii) forever barred from objecting to the assumption
and assignment of such Assumed Event and/or Assumed Contract or the failure to provide
adequate assurance of future performance, and (iii) forever barred and estopped from asserting or
claiming any Cure Amount, other than the Cure Amount listed on the Cure Schedule.

               PLEASE TAKE FURTHER NOTICE that the hearing(s) with respect to Cure
Objection(s) or objection(s) to the adequate assurance of future performance may be held (a) at
the Sale Hearing, or (b) at such other date as the Court may designate at the request of the
Trustee and the Buyer.

          IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE,
THE COURT MAY GRANT THE RELIEF REQUESTED IN THE SALE MOTION,
INCLUDING THE ASSUMPTION AND ASSIGNMENT OF ASSUMED EVENTS AND
CONTRACTS, AND SETTING THE CURE AMOUNTS, WITHOUT FURTHER
NOTICE OR HEARING.




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Dated: February 7, 2020
       Wilmington, Delaware
                                    MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                     /s/ Matthew B. Harvey
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                                    Matthew B. Harvey (No. 5186)
                                    Joseph C. Barsalona II (No. 6102)
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                                    Proposed Counsel for Derek C. Abbott, Esq., as
                                    Chapter 11 Trustee to Tough Mudder Inc. and
                                    Tough Mudder Event Production Incorporated




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